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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                         *
                                                  *
          v.                                      *         CRIMINAL NO. LKG-22-007
                                                  *
 MARILYN J. MOSBY,                                *
                                                  *
                 Defendant                        *
                                                  *
                                               *******

               BILL OF PARTICULARS FOR FORFEITURE OF PROPERTY

        The United States of America, by and through its undersigned counsel, hereby submits this

Bill of Particulars for Forfeiture of Property, providing notice pursuant to Rule 32.2(a) of the

Federal Rules of Criminal Procedure of its intent to seek the forfeiture of certain property in the

above-referenced case.

        On March 10, 2022, a federal grand jury in the District of Maryland returned a four-count

Superseding Indictment alleging that the defendant committed, inter alia, violations of 18 U.S.C.

§ 1014.

        The Superseding Indictment also included a forfeiture allegation, which provided notice to

the defendant that upon conviction of any of the offenses alleged Counts Two or Four of the

Superseding Indictment, the United States will seek forfeiture, pursuant to 18 U.S.C.

§ 982(a)(2)(A), of “any property constituting, or derived from, proceeds the [defendant] obtained

directly or indirectly, as the result of such violation.”

        The United States hereby gives notice that, pursuant to the forfeiture allegation in the

Superseding Indictment, upon conviction of the offense alleged in Count Four of the Superseding

Indictment, the United States will seek forfeiture of the following property:
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(1)   The real property located at 2934 Gulf of Mexico Drive in Longboat Key, Florida,
      34228.


                                            Respectfully submitted,

                                            Erek L. Barron
                                            United States Attorney

                                      By:      /s/
                                            Stephanie Williamson
                                            Assistant United States Attorney




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